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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------- x
GREAT WESTERN INSURANCE COMPANY, :
                                        :
                       Plaintiff,       :   Civil Action No. 18-cv-06249-VSB
                                        :
      vs.                               :
                                        :
MARK GRAHAM, DONALD SOLOW, BLUE         :   Hon. Vernon S. Broderick
CAPITAL MANAGEMENT, INC., BLUE          :
ALTERNATIVE ASSET MANAGEMENT LLC, :
WILMINGTON SAVINGS FUND SOCIETY,        :
FSB, CHRISTIANA TRUST, REGATTA          :
HOLDINGS LLC, CYGNET 001 MASTER         :
                                        :
TRUST, CYGNET 001 MASTER TRUST SERIES
                                        :
2011-A, CYGNET 001 MASTER TRUST SERIES :
2011-C, CYGNET 001 MASTER TRUST SERIES :
2013-A, ALPHA RE LIMITED, ALPHA RE      :
HOLDINGS (CAYMAN) LIMITED, ATLANTIC :
SPECIALTY FINANCE, BLUE ELITE FUND      :
LTD., BLUE ELITE FUND LP, BLUE II LTD., :
                                        :
SANCUS CAPITAL BLUE CREDIT              :
OPPORTUNITIES FUND LTD., ABILITY        :
INSURANCE COMPANY, JOHN DRAKE,          :
EDWARD BRENDAN LYNCH, GREGORY           :
TOLARAM, ADVANTAGE CAPITAL HOLDING:
LLC, DAN CATHCART, AND KENNETH KING. :
                                        :
                       Defendants.      :

------------------------------------X


   PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANTS
 ABILITY INSURANCE COMPANY, ADVANTAGE CAPITAL HOLDING LLC, DAN
          CATHCART, AND KENNETH KING’S MOTION TO DISMISS
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       Plaintiff Great Western Insurance Company (“Great Western”) submits this

Memorandum of Law in Opposition to the Motion to Dismiss the Specific Claims Pleaded

Against Movants (“Motion”) filed by Defendants Ability Insurance Company (“Ability”),

Advantage Capital Holding LLC (“ACH”), Dan Cathcart (“Cathcart”), and Kenneth King

(“King”) (collectively, the “Ability Defendants”).

                                        INTRODUCTION

       Great Western has been the victim of a massive fraud. Great Western filed this action

because over $135 million that was entrusted to defendants to be available to meet

coinsurance obligations on Great Western insurance policies is unaccounted for. Every single

one of the defendants to this action had some combination of legal, fiduciary and/or

contractual obligations related to the missing funds. Every single one of the defendants to this

action played a role in the disappearance of those funds. Yet, not a single one of the

defendants to this action has even tried to explain, either before or after Great Western filed

this action, what happened to those funds. And every single one of the defendants to this

action has denied, either in this action or the reinsurance arbitration that preceded it, any

responsibility for the disappearance of those funds.

       The Ability Defendants have longstanding ties—which continue to this day—to the other

defendants that were instrumental in (a) positioning the other defendants so that they could gain

control over Great Western’s funds, and (b) positioning the Ability Defendants to withdraw $109

million from defendant Cygnet 001 Master Trust Series 2011-C (“Series 2011-C”), a series trust

account where other defendants comingled Ability and Great Western’s trust assets, thereby

resulting in the Ability Defendants withdrawing funds that belong to Great Western. Thus,




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Ability, its parent company ACH, and its directors/officers Cathcart and King have possession

of a substantial portion of Great Western’s missing money.

       The allegations in the Second Amended Complaint (“SAC”) clearly meet the legal

standard for pleading aiding and abetting a breach of fiduciary duty against ACH, King, and

Cathcart (Count Two), aiding and abetting fraud against ACH, King, and Cathcart (Count Four),

unjust enrichment against all Ability Defendants (Count Eleven), and conversion against Ability

(Count Twelve).

                                  STATEMENT OF FACTS

       In 2009, Great Western entered into a Coinsurance Agreement with Ability Reinsurance

(Bermuda) Limited (“Ability Re”). Cathcart, Ability Re’s Chief Financial Officer, negotiated

the Coinsurance Agreement on behalf of Ability Re.

       In early 2012, Ability Re informed Great Western that it was exiting the reinsurance

business and recommended that Great Western move its reinsurance to Defendant Alpha Re

Limited (Cayman) (“Alpha”). (SAC at ¶ 63.) In early 2012, Cathcart introduced Great Western

to defendants Alpha, Mark Graham (“Graham”), and Don Solow (“Solow”). Cathcart vouched

for Graham and said that many of the members of Ability Re’s Board of Directors invested with

Graham and earned terrific returns on their investments. (Id.) At the same time, Great Western

requested to buy back its ceded book of business from Ability Re, but Cathcart refused the offer,

asserting that Alpha had offered Ability Re more money to buy the business than Great Western

could afford to pay. (Id.) Shortly thereafter, Great Western signed the Novation Agreement with

Alpha. (Id. at ¶¶ 64, Ex. B.)

       Unbeknownst to Great Western, defendants Graham, Solow and Alpha were assisting

ACH in acquiring Ability at the same time Ability Re and Cathcart were pressuring Great



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Western into a reinsurance relationship with Alpha. (SAC at ¶ 68.) As a condition of ACH’s

acquisition of Ability, ACH was required to add $5.75 million to Ability’s surplus. (Id.) Alpha

assisted ACH with its acquisition of Ability by (1) providing Ability with $2.25 million of the

$5.75 million surplus infusion in the form of a surplus note, (2) entering into a new Coinsurance

Agreement, effective 12/31/2012, reinsuring 20% of Ability’s LTC Medico policies with Alpha,

and (3) paying Ability Re a commission for the novation of the Great Western business – money

that was then used to fund a $20 million trust with Ability as the beneficiary. (Id.)

       The Ability Defendants’ characterization of Ability and Ability Re as “indisputably []

distinct entities since 2013” (Doc. 135, cited herein as “Memorandum” at 6, fn. 3) is misleading

and self-serving. It ignores the fact that Ability and Ability Re were owned by the same entity,

Ability Reinsurance Holding Limited, from 2007 until February 25, 2013, and were controlled

by the same person, Cathcart. It also ignores the fact that, on February 25, 2013, Advantage

Capital Holding, LLC (owned by King) purchased Ability. Therefore, Ability was already

positioned to benefit from Great Western’s relationship with Alpha Re, and the incestuous

relationships between Ability and many of the other defendants were already well established.

       By 2016, the financial scheme concocted to bilk Great Western was crumbling. (See

SAC at ¶¶ 6, 113-129.) The events that followed conclusively rebut Ability’s cynical and, at this

stage, legally untenable protestations of innocence:

   •   In early September 2016, Great Western contacted Cathcart to see if Ability knew
       about the SEC’s investigation into Alpha, Graham, Solow, Blue Alternative Asset
       Management, Blue Elite Fund, and others. Cathcart told Great Western he did not
       know about the investigation and that Ability’s reinsurance relationship with Alpha
       was “going smoothly.” (See SAC at ¶ 113.) This turned out to be not true.

   •   Soon thereafter, King reached out to Great Western and told them he would “get to
       the bottom” of the SEC investigation. Great Western told King that Graham and
       Alpha refused to show Great Western any details about the underlying investments

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        supporting the repurchase agreements in Great Western’s Trust Account. (See SAC
        at ¶ 114.)

    •   Within a few weeks, Cathcart informed Great Western that Graham had given King
        a view of the investments and reassured Great Western that Ability was not
        concerned about any of its reinsurance investments with Alpha. (See SAC at ¶
        115.) This also turned out to be not true.

    •   Based on the insider information Cathcart and King received from Graham, Ability
        withdrew $109 million from Series 2011-C. Unbeknownst to Great Western at the
        time, Graham and Solow comingled Ability and Great Western’s trust account
        funds together in Series 2011-C. (See SAC at ¶¶ 6, 116.) Therefore, when Ability
        withdrew $109 million (the vast majority of the assets in the account), much of
        the money withdrawn belonged to Great Western, not Ability.

    •   In December 2016, an entity named Alpha Re (US)—the US-version of defendant
        Alpha that was owned and operated by Solow—changed its name to Vista Life &
        Casualty Reinsurance Company (“Vista Re”). Solow specifically stated that the
        reason for this change was to insulate the U.S. entity from any reputational damage
        that might be incurred in the event the Cayman regulatory authorities took action
        against Alpha. (See SAC at ¶ 123.)

    •   On December 31, 2016, one month after Ability withdrew $109 million from Series
        2011-C, Ability signed a new coinsurance agreement with Vista Re (owned by
        Solow). Under Ability’s coinsurance agreement with Alpha (owned, in part, by
        Solow)—which remained in-force even after the $109 million withdrawal—Ability
        ceded 20% of its business to Alpha under a quota share. 1 Now, under the new
        coinsurance agreement, Ability agreed to cede an additional 40% of its business to
        Vista Re; tripling the amount of its business it ceded to entities owned or controlled
        by Solow to 60%. (See SAC at ¶ 124.)

    •   On March 24, 2017, Cathcart (former CFO of Ability Re, current director of
        Ability), King (Director, CEO and President of Ability), and Ian Kilpatrick (owner
        and director of Ability), who directed and negotiated the withdrawal of $109
        million from Series 2011-C with Solow and Graham (and entities they both own
        and control), joined the board of directors for defendant Blue Elite Fund LP (which
        is owned and operated by Graham). (See SAC at ¶125.) Importantly, this means


1
 A quota share coinsurance agreement means the reinsurer pays a percentage of every dollar the
cedent pays in claims. For instance, a 20% quota share means the reinsurer is obligated to pay
$0.20 of every dollar, and the cedent pays $0.80.
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        that Cathcart, King, and Kilpatrick joined the Blue Elite Fund board after
        learning that the SEC was investigating Blue Elite Fund (among others).

    •   On March 30, 2017, Atlantic Coast Life Insurance Company (owned by ACH and
        King, and run by Cathcart), along with SQN Fund IV, purchased the surplus note
        from Alpha for $2.25 million. (See SAC at ¶ 127.) This meant that Ability now
        owed Atlantic Coast Life Insurance Company $2.25 million.

    •   According to Ability’s Form-Y Annual Statement for the Year Ended December
        31, 2017, filed with the Nebraska Department of Insurance, Ability is a wholly-
        owned subsidiary of ACH, which owns 80% of defendant Sancus Blue Credit
        Opportunities Fund Ltd. (“Sancus”). 2 Sancus is one of the investment vehicles into
        which Graham and Solow (through the entities they controlled) invested Great
        Western’s $135+ million. (See SAC at ¶ 128.) This means that Ability and its
        directors and officers (through ACH) controlled part of, and profited from, Great
        Western’s $135+ million.

    •   Lest there be any doubt as to the intimate connection between these entities, King
        is the Chairman & CEO of A-Cap Holdings, and Cathcart is “Head of M&A/CEO
        of Atlantic Coast Life.” As of December 31, 2017, King was the President and
        CEO of Ability, and both Cathcart and King were listed as “Directors/Trustees” of
        Ability. (See SAC at ¶ 129.)




2
  In deciding Ability’s Motion, this Court may utilize “documents attached to the complaint as an
exhibit or incorporated in it by reference, to matters of which judicial notice may be taken, or to
documents either in plaintiffs’ possession or of which plaintiffs had knowledge and relied on in
bringing suit.” Brass v. Am. Film Techs., Inc., 987 F.2d 142, 150 (2d Cir. 1993); see also Cortec
Indus., Inc. v. Sum Holding L.P., 949 F.2d 42, 47-48 (2d Cir. 1991); Calcutti v. SBU, Inc., 224 F.
Supp. 2d 691, 696 (S.D.N.Y. 2002). Rule 201 of the Federal Rules of Evidence generally permits
a court to take judicial notice of any facts that “can be accurately and readily determined from
sources whose accuracy cannot reasonably be questioned.” Fed. R. Evid. 201(b)(2).
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                                      LEGAL STANDARD

       A motion to dismiss pursuant to Rule 12(b)(6) must be denied “unless it appears beyond

doubt that the plaintiff can prove no set of facts in support of his claim which would entitle him

to relief.” Scheuer v. Rhodes, 416 U.S. 232, 236 (1974) (quoting Conley v. Gibson, 355 U.S. 41,

45-46 (1957)). When deciding a motion to dismiss under Rule 12(b), this Court must “accept[ ]

all factual allegations [in the complaint] as true and draw[ ] all reasonable inferences in favor of

the plaintiff.” Meyer v. Jinkosolar Holdings Co., 761 F.3d 245, 249 (2d Cir. 2014) (alterations in

original); accord Nielsen v. Rabin, 746 F.3d 58, 62 (2d Cir. 2014).

       “The issue is not whether a plaintiff will ultimately prevail but whether the claimant is

entitled to offer evidence to support the claims.” Villager Pond, Inc. v. Town of Darien, 56 F.3d

375, 378 (2d Cir. 1995) (quoting Scheuer, 416 U.S. at 236). In other words, “‘the office of a

motion to dismiss is merely to assess the legal feasibility of the complaint, not to assay the

weight of the evidence which might be offered in support thereof.’” Eternity Glob. Master Fund

Ltd. v. Morgan Guar. Tr. Co., 375 F.3d 168, 176 (2d Cir. 2004) (quoting Geisler v. Petrocelli,

616 F.2d 636, 639 (2d Cir. 1980)). Dismissal is only appropriate when “it appears beyond doubt

that the [claimant] can prove no set of facts which would entitle him or her to relief.” Sweet v.

Sheahan, 235 F.3d 80, 83 (2d Cir. 2000); accord Eternity Glob. Master Fund Ltd., 375 F.3d at

176-77.

       As discussed herein, the Ability Defendants have not met and cannot meet their burden

under Rule 12(b)(6), and their Motion should be denied.




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                                          ARGUMENT

I.     GREAT WESTERN PROPERLY PLED ITS CLAIM FOR AIDING AND
       ABETTING BREACH OF FIDUCIARY DUTY AGAINST ACH, KING, AND
       CATHCART (COUNT TWO).

       To state a claim for aiding and abetting a breach of fiduciary under New York law, the

plaintiff must allege: (1) a breach of a fiduciary duty, of which the aider and abettor had

knowledge, (2) that the defendant provided substantial assistance to the breach, and (3) that

plaintiff suffered damage as a result of the breach. Lerner v. Fleet Bank, N.A., 459 F.3d 273,

294-95 (2d Cir. 2006); Kaufman v. Cohen, 307 A.D.2d 113, 126 (2003). Great Western has done

so.

       A. “Knowledge” Of A Breach of Fiduciary Duty.

       ACH, King, and Cathcart do not dispute that Great Western properly pled that Blue

Alternative Asset Management (“BAAM”) and Graham, among other defendants, breached

fiduciary duties owed to Great Western. (SAC ¶¶ 165-171.) (See discussion at Memorandum of

Law in Opposition to Graham and Blue Entities’ Motion to Dismiss (“Graham Opposition

Memorandum”), Section II.B.) ACH, King, and Cathcart only challenge the SAC as to the

second part of the first element: arguing that Great Western did not properly plead that the three

defendants had knowledge of BAAM, Graham, and others’ breach of fiduciary duty to Great

Western. (See Memorandum at 11.)

       The “knowledge” prong is satisfied if the individual has “knowledge as to the primary

violator’s status as a fiduciary and knowledge that the primary’s conduct contravenes a fiduciary

duty.” In re Monahan Ford Corp. of Flushing, 340 B.R. 1, 43 (Bankr. E.D.N.Y. 2006) (citation

omitted). This means, as the Second Circuit has held, that knowledge of a fiduciary comingling

funds (which is clearly a breach of a fiduciary duty) is sufficient to satisfy the “knowledge”

prong of aiding and abetting a breach of fiduciary duty. See Lerner, 459 F.3d at 294-95 (2d Cir.
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2006). In Lerner, the plaintiff alleged that the defendants knew that a law firm had overdrawn

and bounced numerous checks out of bank accounts to which the law firm owed a fiduciary duty.

Id. at 294. Based on these alleged facts, the Second Circuit held that “comingling of funds was

not only an indication of a breach of fiduciary duty—it was, in and of itself, a breach,” and,

therefore, defendants had “knowledge” of the law firm’s breach of fiduciary duty. Id. (emphasis

supplied); see also In re Allou Distribs., Inc., 387 B.R. 365, 410 (Bankr. E.D.N.Y. 2008).

       This is precisely what Great Western has alleged here. ACH, Cathcart, and King knew of

Alpha, Graham, and other defendants’ fiduciary relationships to Great Western based on Ability

Re’s (a) previous role as Great Western’s reinsurer, (b) long-standing and continuing

connections to Alpha, Graham, Solow, and other defendants, and (c) subsequent conversations

with Great Western, including those in late 2016. (SAC at ¶¶ 60-68; 113-14.) Moreover, ACH,

Cathcart, and King received “inside information” from Graham and others in late 2016 about the

status of investments in Series 2011-C, which showed Series 2011-C was significantly

underfunded and that, therefore, Graham and others had repeatedly provided Great Western with

false statements about its Trust Account assets. (Id. at ¶¶ 115-16; 175-76.) This knowledge is

what caused King and Cathcart to lie to Great Western about the status of Graham’s investments,

and immediately withdraw $109 million from Series 2011-C, most of which was Great

Western’s Money. 3 (Id. at ¶¶ 115-18.)




3
  In 2012, Graham, acting through BAAM as the Investment Manager of the Great Western Trust
Account, entered into multiple Repurchase Agreements, whereby $148 million was transferred
from the Trust Account to Series 2011-C. In exchange, the Trust Account (for which Great
Western was the sole beneficiary) was supposed to receive ownership of collateral in the Series
2011-C trust account. These assets are collectively referred to herein as “Great Western’s
Money.”

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       Thus, Great Western has alleged that ACH, King, and Cathcart had knowledge of

Graham and others’ “status as a fiduciary” to Great Western, and that Graham and others’

“conduct contravene[d] a fiduciary duty.” In re Monahan Ford Corp., 340 B.R. at 43.

       ACH, King, and Cathcart argue that “suspected fraudulent activity … do[es] not raise an

inference of actual knowledge of [the] fraud.” (See Memorandum at 11.) However, this has

nothing to do with the “knowledge” prong for aiding and abetting breach of fiduciary duty, as the

only case cited by defendants for this proposition does not even involve a claim for aiding and

abetting breach of fiduciary duty. See id. (quoting and citing Ryan v. Hunton & Williams, No.

99-5938, 2000 WL 1375265 (E.D.N.Y. Sep. 20, 2000)).

       B. Substantial Assistance

       The second element of aiding and abetting breach of fiduciary duty—providing

“substantial assistance”—is not a high bar. Rather, “[s]ubstantial assistance occurs when a

defendant affirmatively assists, helps conceal or fails to act when required to do so, thereby

enabling the breach to occur.” Kaufman, 307 A.D.2d at 126.

       As alleged, ACH, King, and Cathcart helped conceal the breach of fiduciary duty by

Graham, BAAM, and others by (a) telling Great Western that they would speak to Graham and

“get to the bottom” of concerns regarding money managed by Graham for Ability and Great

Western, (b) receiving “inside information” regarding the status of Graham’s investment, which

prompted the Ability Defendants to immediately start the process of withdrawing $109 million

from Series 2011-C, and (c) lying to Great Western that they felt “comfortable” with Graham’s

investments, even though the Ability Defendants had already started the process of withdrawing

money from Series 2011-C. (SAC at ¶¶ 113-15.) These false statements to Great Western about

the status of Graham’s investments affirmatively assisted and helped conceal Graham, BAAM,

and others’ breach of fiduciary duty to Great Western and prolong their scheme.
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       In protestation to “substantial assistance,” ACH, Cathcart, and King wholly misstate New

York law in one instance, and discuss irrelevant New York law in another.

       First, ACH, Cathcart, and King reserve a whole subsection of their substantial assistance

argument (titled “No Justifiable Reliance”) for their argument that Great Western could not

reasonably have relied on any statements by ACH, Cathcart, and King. (See Memorandum at

13-14.) However, there is absolutely no requirement for pleading justifiable reliance under

New York law. ACH, Cathcart, and King did not cite to any cases that identify justifiable

reliance as an element of aiding and abetting a breach of fiduciary duty. In fact, the only case

cited in the subsection titled “No Justifiable Reliance”—Granite Partners, L.P v. Bear, Stearns

& Co., 58 F. Supp. 2d 228 (S.D.N.Y. 1998)—is a case that does not even include a claim for

aiding and abetting breach of fiduciary duty. The discussion in that case about justifiable

reliance relates to a claim for common law fraud, and is completely irrelevant. Id. at 259-60.

       Second, ACH, Cathcart, and King argue that Great Western “fails to allege, as it must,

any requirement to act to ‘alert’ GWIC as a claimed ongoing breach of fiduciary duty.”

(Memorandum at 13.) (emphasis added). However, a plaintiff must only allege a duty to act if

the “substantial assistance” prong is predicated on a failure to act. In re Monahan Ford Corp.,

340 B.R. at 43 (“However, the inaction of an alleged aider and abettor constitutes substantial

assistance only if the defendant owes a fiduciary duty directly to the plaintiff.”). Where as here,

substantial assistance is based on the other two types of substantial assistance—affirmative

assistance or concealment—then the plaintiff need not allege any duty on behalf of the aider and

abettor. See Caprer v. Nussbaum, 36 A.D.3d 176, 193 (2d Dept. 2006) (holding that aiders and

abettors are liable for the breach, even if they have “no independent fiduciary obligation to the




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allegedly injured party, if the alleged aider/abettor rendered ‘substantial assistance’ to the

fiduciary in the course of effecting the alleged breaches of duty”) (citation omitted).

       C. Proximate Cause

       The last element of aiding and abetting breach of fiduciary duty is proximate cause.

Great Western alleged that the investigation by King and Cathcart into Graham’s investments—

and their subsequent false statements that they were comfortable with Graham’s investments—

reassured Great Western about the then current state of its Trust Account. (SAC at ¶¶ 113-15.)

In doing so, King and Cathcart allowed the Ability Defendants to race to grab the funds in the

Series 2011-C account and to withdraw $109 million, much of which was Great Western’s

Money.

       ACH, King, and Cathcart argue that these false statements could not have proximately

caused Great Western’s injury, as “the breaches of fiduciary duty took place over almost five

years, from June 2012 until early 2017.” (Memorandum at 14.) But this is simply not true, plus,

acceptance of this argument would require the Court to construe the SAC and to draw inferences

therefrom against Great Western – which is impermissible. As alleged in the SAC, ACH, King,

and Cathcart’s false statements to Great Western occurred when the Series 2011-C account had

at least $109 million (if not, more) in it. (SAC at ¶¶ 115-116.) Of course statements by ACH,

King, and Cathcart that deceived Great Western about the state of its investments caused

significant damage to Great Western.

II.    GREAT WESTERN PROPERLY PLED ITS CLAIM FOR AIDING AND
       ABETTING FRAUD AGAINST ACH, KING, AND CATHCART (COUNT FOUR).

       Similar to aiding and abetting a breach of fiduciary duty, to state a claim for aiding and

abetting fraud under New York law, Great Western must allege: “(1) the existence of an

underlying fraud; (2) knowledge of this fraud on the part of the aider and abettor; and (3)

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substantial assistance by the aider and abettor in achievement of the fraud.” Kottler v. Deutsche

Bank AG, 607 F. Supp. 2d 447, 464 (S.D.N.Y. 2009). It has done so.

       First, as alleged in the SAC, Great Western was the victim of systemic fraud. (SAC at ¶¶

1-7, 178-81.) See discussion at Introduction and Statement of Facts, above; see also Graham

Opposition Memorandum at Section II.D.

       Second, ACH, King, and Cathcart had knowledge of such fraud. As alleged, in

September 2016, King and Cathcart told Great Western they would “get to the bottom” of the

status of Graham’s investments of Great Western’s Money and spoke with Graham about the

status of the investments. (SAC at ¶¶ 114-115.) This conversation provided ACH, King, and

Cathcart with insights into Graham’s activities, and as a result they learned (if they did not

already know) what was in Series 2011-C (or, put more accurately, what was not in Series 2011-

C). Thereafter, ACH, King, and Cathcart immediately began the process of withdrawing $109

million from Series 2011-C. (SAC at ¶ 16.)

       Third, for aiding and abetting fraud, “[t]he substantial assistance element has been

construed as a causation concept, requiring that the plaintiff allege that the acts of the aider and

abettor proximately caused the harm upon which the primary liability is predicated.” JP Morgan

Chase Bank v. Winnick, 406 F. Supp. 2d 247, 256 (S.D.N.Y. 2005) (alteration in original).

“Substantial assistance can take many forms … executing transactions, even ordinary course

transactions, can constitute substantial assistance under some circumstances, such as where there

is an extraordinary motivation to aid the fraud.” Id. at 257 (omission in original).

       Here, as alleged in the SAC, ACH, Cathcart, and King’s false statements regarding the

“comfort” they received from Graham regarding his investments affirmatively assisted and

further concealed Graham and others’ systemic fraud – allowing it to continue. (SAC at ¶¶ 114-



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117.) Great Western’s allegations here are very specific, and detail the what (lies about comfort

with Graham’s investments), the who (King and Cathcart—directors of ACH), and the when

(September 2016). (Id.)

        As with aiding and abetting breach of fiduciary duty, ACH, King, and Cathcart repeat the

same two wholly incorrect arguments: (1) that Great Western could not “justifiably rely” on their

statements regarding Graham’s investments; and (2) ACH, King, and Cathcart had “no duty to

make disclosures” to Great Western. (See Memorandum at 16-17.) As explained above at pages

10-11, there is absolutely no requirement for pleading justifiable reliance under New York law

for aiding and abetting fraud, and there is no requirement for duty since Great Western’s

allegations for “substantial assistance” are based on affirmative action and concealment, not a

duty to act.

        Lastly, ACH, King, and Cathcart do not challenge the proximate cause prong of aiding

and abetting fraud. Nevertheless, Great Western points out that, similar to aiding and abetting

breach of fiduciary duty, but for ACH, King, and Cathcart’s false statements to Great Western

about the status of Graham’s investments when a large amount of money remained in the Series

2011-C account (as evidence by the Ability Defendants’ withdrawal of $109 million), Great

Western would not have been deceived into thinking their investments with Graham were safe.

III.    GREAT WESTERN PROPERLY PLED ITS CLAIM FOR UNJUST
        ENRICHMENT AGAINST THE ABILITY DEFENDANTS (COUNT ELEVEN).

        In Count Eleven of the SAC, Great Western alleges that the Ability Defendants have

been unjustly enriched in connection with their withdrawal of approximately $109 million from

Series 2011-C, much of which was Great Western’s Money. (SAC at ¶¶ 244-47.)

        To maintain a claim for unjust enrichment under New York law, a plaintiff must simply

plead that “(1) defendant was enriched, (2) at plaintiff’s expense, and (3) equity and good

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conscience militate against permitting defendant to retain what plaintiff is seeking to recover.”

See Overton v. Art Fin. Partners LLC, 166 F. Supp. 3d 388, 403 (S.D.N.Y. 2016). The Ability

Defendants do not dispute that Great Western has properly pled the first two elements. Instead,

the Ability Defendants argue that Great Western’s claim for unjust enrichment fails because (a)

the Ability Defendants and Great Western did not have the “requisite relationship”

(Memorandum at 17-21), and (b) the Ability Defendants exercised Ability’s contractual right to

withdraw the $109 million, “negating” a finding that the Ability Defendants’ conduct offends

equity and good conscience. (Id. at 21-22.) Both of these arguments are meritless.

       A. The Ability Defendants and Great Western Have a Sufficient Relationship for an
          Unjust Enrichment Claim.

       Under New York law, “[g]iven that unjust enrichment is a claim in quasi-contract, it

requires some relationship between plaintiff and defendant.” Overton, 166 F. Supp. 3d at 403

(citation omitted). However, “some relationship” is a “modest” requirement that only requires

“[a] claim will not be supported if the connection between the parties is too attenuated.” Myun-

Uk Choi v. Tower Research Capital LLC, 890 F.3d 60, 69 (2d Cir. 2018) (citation omitted)

(reversing the district court’s dismissal of plaintiff’s unjust enrichment claim because plaintiff

did not need to show the parties had a “direct relationship”); Grund v. Del. Charter Guarantee &

Tr. Co., 788 F. Supp. 2d 226, 251 (S.D.N.Y. 2011) (“Unjust enrichment does not require a direct

relationship between the parties.”). “The [New York] Court of Appeals has observed that the

nexus between parties is too attenuated if the parties ‘simply had no dealings with each other’. .

.” Chen v. New Trend Apparel, Inc., 8 F. Supp. 3d 406, 464 (S.D.N.Y. 2014) (quoting Georgia

Malone & Co., Inc. v. Rieder, 19 N.Y.3d 511, 517–18 (2012)).

       As alleged in the SAC, Great Western and the Ability Defendants had significant

dealings with each other over the years:

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•   From 2009 – 2012, Ability Re served as Great Western’s reinsurer. This resulted in a

    close business relationship between Great Western and Ability Re and Cathcart (Chief

    Financial Officer of Ability Re). (SAC at ¶¶ 60, 63, 125.)

•   In early 2012, Cathcart introduced Great Western to Alpha, Graham, and Solow,

    vouching for them and their business expertise. Great Western offered to go a different

    direction and to buy back its ceded book of business from Ability Re; however, Cathcart

    refused – leading Great Western into business with Alpha. (Id. at ¶ 63.)

•   In late 2016, at the time when the Ability Defendants withdrew the $109 million that

    included Great Western’s Money from Series 2011-C, Cathcart and King (principals of

    Ability) had multiple conversations with Great Western about the financial condition of

    Alpha and the strength of Graham’s investment strategy and activities. (Id. at ¶¶ 113-15.)

    At the same time that Cathcart and King were telling Great Western that Graham showed

    them his investments and that they feel comfortable with Graham, Cathcart and King (on

    behalf of Ability and ACH) were aggressively moving to withdraw $109 million from

    Series 2011-C. (Id. at ¶ 116.)

•   To make matters worse, once the Ability Defendants withdrew the $109 million – instead

    of ending its relationship with Graham and Solow – the Ability Defendants kept Ability’s

    coinsurance agreement with Alpha in-force and (literally) tripled-down by signing a new

    coinsurance agreement with Vista Re (formerly Alpha Re (US)) and Solow. (SAC at ¶¶

    123-24.)

•   On or about March 24, 2017, Cathcart and King also joined the board of directors of Blue

    Elite Fund—an entity they knew was under SEC investigation at the time they chose to

    join the board. (SAC at ¶ 125.)


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       These facts clearly distinguish this case from the two main cases on pages 18 and 19 of

the Ability Defendants’ Memorandum: Cohen v. BMW Invs. L.P., 144 F. Supp. 3d 492

(S.D.N.Y. 2015); Encore Preakness, Inc. v. Chestnut Health & Rehab. Grp., Inc., No. N17C-03-

1677, 2017 WL 5068753 (Del. Super. Ct. Nov. 1, 2017).

       In BMW Investments, not only were there no allegations of a “relationship between

Cohen and BMW of any kind prior to this litigation,” there were no allegations “indicating that

BMW and Cohen even knew of each other’s existence prior to this litigation.” Id. at 501. Nor

were there any allegations that “BMW even knew of [the fraudster’s] other fraudulent

transactions, with Cohen or otherwise.” Id. at 502. Based on that, the court found that the

relationship between the two parties was “too attenuated” to maintain a claim for unjust

enrichment.

       As alleged in the SAC, all of the facts that were missing from the BMW Investments case

have been alleged here. Based on the parties’ reinsurance relationship in 2009 – 2012 and the

multiple conversations they had in late 2016, the two parties certainly had a relationship and

knew of each other prior to this litigation. Furthermore, the Ability Defendants knew not only of

Great Western’s existence, they knew that Great Western was a victim of Alpha, Graham, and

Solow’s scheme – which is why the Ability Defendants seized the $109 million.

       Encore Preakness is a wholly irrelevant Delaware state case—applying Delaware law—

that does not even discuss the “too attenuated” standard or anything similar. Instead, that case

held that while the defendant may have been unjustly enriched, it was enriched at the expense of

a third-party, not the plaintiff. Encore Preakness, 2017 WL 2068753, at *3-4. Therefore, since

the plaintiff was not “the impoverished party,” the plaintiff could not bring a claim for unjust

enrichment. Id. at *3; see also United Health All., LLC v. United Med., LLC, No. 7710-VCP,



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2014 WL 6488659, at *8 (Del. Ch. Nov. 20, 2014) (another Delaware case cited by the Ability

Defendants that is wholly irrelevant for precisely the same reasons as Encore Preakness).

       Importantly, New York courts have held that “a defendant’s awareness of the plaintiff

and of the potential negative impact of its own conduct on the plaintiff” can demonstrate the

“required closeness between parties” to maintain a claim for unjust enrichment. Chen, 8 F.

Supp. 3d at 465. In Chen, a multi-party dispute, the Chen plaintiffs alleged that the Chang

defendants were unjustly enriched at the Chen plaintiffs’ expense when certain inventory was

transferred. Similar to the Ability Defendants’ arguments here, the Chang defendants disputed

this claim “on the grounds that they were good-faith purchasers for value and had no relations

with the Chen parties.” Id. at 464-65. The district court ruled in favor of the Chen plaintiffs and

held that, “despite the lack of any direct dealings between the Chen plaintiffs and the Chang

defendants, there was sufficient connection between them to potentially support an unjust

enrichment claim.” Id. at 465. The court continued, “[a] trier of fact could, therefore, conclude

that the Chang defendants were aware of the potential negative impact that their business

dealings with New Trend might impose on the Chen plaintiffs.” Id.; see also Overton, 166 F.

Supp. 3d at 414 (denying defendant’s motion for summary judgment for plaintiff’s unjust

enrichment claim because a factual dispute existed “which may be probative of defendants’

awareness of how their conduct would affect [plaintiff]”).

       Like in Chen, as alleged in the SAC and explained above on pages 15-16, the Ability

Defendants indisputably had an “awareness” of the “potential negative impact of [their] own

conduct” (Chen, 8 F. Supp. 3d at 465) on Great Western when they withdrew almost all of the

money and assets in Series 2011-C (totaling $109 million), which included Great Western’s

Money.



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       Lastly, as discussed above on pages 10-11 and 13, the Ability Defendants—again—argue

that Great Western “cannot show justifiable reliance.” (Memorandum at 20-21.) And again,

New York law does not require justifiable reliance to state a claim for unjust enrichment. The

main case on which the Ability Defendants rely—Belin v. Weissler, No. 97-8787, 1998 WL

391114 (S.D.N.Y. July 14, 1998)—does not even involve a claim for unjust enrichment. It is a

fraud case. The same is true for the case cited by the Ability Defendants in footnote 8 on pages

20-21: Bank of Am. Corp. v. Lemgruber, 385 F. Supp. 2d 200 (S.D.N.Y. 2005) (does not involve

a claim for unjust enrichment).

       B. Great Western’s Pleadings Satisfy New York’s “Equity and Good Conscience”
          Requirement for an Unjust Enrichment Claim.

       The Ability Defendants’ actions prior to, in connection with, and after, the withdrawal of

the $109 million show that it would be “against equity and good conscience” to permit the

Ability Defendants to retain that money.

       Prior to the withdrawal, the Ability Defendants informed Great Western that Graham had

given King a view of the investments, and Cathcart reassured Great Western that the Ability

Defendants were not concerned about any of its reinsurance investments with Alpha. (SAC ¶¶ at

115-17.) All the while, the Ability Defendants were taking steps to withdraw $109 million from

the Series 2011-C account, much of which was Great Western’s Money. Then, immediately

after the withdrawal, rather than inform Great Western of its actions or move its business

elsewhere, since it knew the reinsurance trusts were underfunded, Ability entered into a new

coinsurance agreement worth triple the amount of money with Vista Re, formerly known as

Alpha Re (US) and owned and operated by Solow. As explained above at pages 4-5 and 15-16,

Ability went from ceding 20% of its business to Alpha to 60% of its business to Alpha and Vista.

Three months later, beginning in March 2017, Cathcart and King joined the board of directors

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for Blue Elite Fund LP, which is owned and operated by Graham. (SAC at ¶ 125.) Indeed,

Cathcart and King joined defendant Blue Elite Fund LP’s board of directors after learning Blue

Elite Fund LP was under investigation by the SEC.

       Some of the $109 million withdrawn by the Ability Defendants included non-liquid

assets, such as redemption certificates for defendant Blue Elite Fund LP. Over the course of

2017, and while Cathcart and King sat on the board of directors for Blue Elite Fund LP, Graham

and others helped the Ability Defendants liquidate the assets withdrawn by the Ability

Defendants, including the Blue Elite Fund LP redemption certificates. (See SAC ¶¶ 109.) The

SEC has determined these, among others, were “improper redemptions.” (See Doc. 56 at Ex. A

¶ 26.) Having intentionally misled Great Western so that it could seize the assets in question, the

Ability Defendants’ argument that their Motion should somehow be granted because Great

Western “took no steps to recover or protect any assets in which it allegedly held an interest”

(Memorandum at 22) is a classic example of chutzpah and a premature argument at the motion to

dismiss stage.

       The Ability Defendants claim that “the exercise of a statutory or contractual right does

not violate, as a matter of law, equity and good conscience,” but cite no cases that holds this “as

a matter of law.” (Memorandum at 21.) The fact that Nebraska insurance law required Alpha to

hold money accessible to Ability is no different from the fact that Utah insurance law required

Alpha to similarly hold money accessible to Great Western. See Utah Admin. Code R590-173-

10(A)(4)(a); SAC at Ex. C (Trust Agreement) Section 2(a). Alpha, Graham, and Solow certainly

broke both states’ insurance laws by comingling Ability and Great Western’s trust accounts.

However, that does not give Ability a superior right to money or assets that belonged to Great

Western in the first instance.



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       Thus, the SAC certainly satisfies the “equity and good conscience” requirement for Great

Western to maintain a claim for unjust enrichment. See Childers v. N.Y. & Presbyterian Hosp.,

36 F. Supp. 3d 292, 305 (S.D.N.Y. 2014) (denying defendant’s motion to dismiss because

“equity and good conscience militate against permitting defendant to retain what plaintiff is

seeking to recover”). Thus, the Ability Defendants’ Motion should be denied.

IV.    GREAT WESTERN HAS PROPERLY PLED CONVERSION AGAINST
       ABILITY (COUNT TWELVE).

       Ability’s argument appears to be that Nebraska law and Ability’s coinsurance agreement

with Alpha “authorized” Ability to withdraw $109 million from Series 2011-C; and, therefore,

Great Western’s conversion claim must fail. (See Memorandum at 22-25.) However, this misses

the point. Any rights Ability may have had under Nebraska law or its coinsurance agreement

were limited to Ability’s money held by Alpha and did not include any rights to Great Western’s

Money held by Alpha. As alleged, Ability inappropriately withdrew Great Western’s Money

after Graham/Alpha comingled Great Western and Ability’s money together. (SAC at ¶ 251.)

Nothing under Nebraska law or the Ability-Alpha coinsurance agreement gave Ability a right to

take Great Western’s Money.

       New York law is clear that comingled money in an account may serve as the subject of a

conversion claim. See Newbro v Freed, 409 F Supp. 2d 386 (S.D.N.Y. 2006), aff’d., No. 06-

1722-CV, 2007 WL 642941 (2d Cir. Feb. 27, 2007). In Newbro, plaintiff’s accountant

transferred $1.12 million from the plaintiff’s account into another client’s account (defendant) to

cover a “shortfall,” and the plaintiff sued on a theory of conversion to “merely [] undo the

improper transfer.” Id. at 396. The court granted the plaintiff’s motion for summary judgment

for conversion because, “[g]iven that plaintiff owned the money invested in his account and lost

possession without his consent, defendant[] had an obligation to return such funds to plaintiff.”

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Id. at 397. Even if the “crooked broker” “may have owed defendants $1 million before the

transfer, [] ‘one who receives money from a thief in satisfaction of pre-existing debt does not

have a defense against the person from whom the money was stolen.’” Id. at 396-97 (quoting

Eisenberg v. Grand Bank for Sav. FSB, 207 F. Supp. 2d 553, 561 (S.D. Miss. 2002), aff’d, 70

Fed. Appx. 765 (5th Cir. 2003)).

       The Newbro case is not alone. There are numerous other cases applying New York law

where courts have held that a party may maintain a claim for conversion based on allegations

that one party withdrew the other party’s money from an account; including, specifically, where

the allegations are that the funds were inappropriately comingled. See, e.g., Simpson & Simpson

PPLC v. Lippes Mathias Wexler Friedman LLP, 130 A.D.3d 1543, 1544-45 (4th Dept. 2015)

(reversing the lower court because “the court erred in determining that the comingling of the

embezzled funds in the employee’s joint checking account precluded a cause of action for

conversion . . . [since] the embezzled funds are sufficiently identifiable and traceable to sustain a

cause of action for conversion”); Petrone v Davidoff Hutcher & Citron, LLP, 150 A.D.3d 776,

778 (2d Dept. 2017) (“Contrary to the defendant's contention, the fact that the children's funds

were commingled with other money in the escrow account does not preclude a cause of action

for conversion.”); Galasso, Langione, & Botter, LLP v Galasso, 43 N.Y.S.3d 767 (2016).

       None of the cases cited by Ability (see Memorandum at 22-25) even remotely suggest

otherwise. The Oxon case from 1982 involved a contractual dispute whereby the plaintiff’s

agent, the middle-party in the transactions, was empowered by the plaintiff to enter into a

contract with the defendant which excused the defendant’s non-payment (hence, the defendant

was not unjustly enriched). Oxon Italia, S.p.A. v. Farmland Indus., Inc., 546 F. Supp. 681

(S.D.N.Y. 1982). This has nothing to do with a claim for conversion based on the transfer of



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Great Western’s Money to Ability to cover Alpha’s shortfall. And, in any event, the Oxon case

involved a final judgment after a trial, not a ruling on a motion to dismiss.

       The other cases cited by Ability are similarly off-point. See Kolodin v. Valenti, 147

A.D.3d 459, 459-60 (1st Dept. 2017) (ruling on summary judgment, based on deposition

testimony, that plaintiff willingly transferred her interests in a joint investment account into an

account held solely in the defendant’s name); Valentini v. Citigroup, Inc., 837 F. Supp. 2d 304,

330-31 (S.D.N.Y. 2011) (plaintiff failed to allege that defendant possessed the items plaintiff

accused defendant of converting); Krasner v. Rahfco Funds LP, No. 11 CV 4092(VB), 2012 WL

4069294 (S.D.N.Y. Aug. 9, 2012) (plaintiff failed to make a pre-litigation demand, which was

necessary because the defendant lawfully possessed the funds); In re Stillwater Asset Backed

Offshore Fund Ltd., 559 B.R. 563, 588 (Bankr. S.D.N.Y. 2016) (analyzing whether plaintiff

properly stated a claim for alter ego liability under Cayman Law, not conversion under New

York law); Banco Indus. De Venezuela, C.A. v. CDW Direct, LLC, 888 F. Supp. 2d 508

(S.D.N.Y. 2012) (the case has absolutely nothing to do with conversion or comingled funds).

       Lastly, buried in a footnote at the end of their brief, Ability argues that Great Western’s

conversion claim is defective because Great Western did not make a pre-litigation demand on

Ability to return the money. (See Memorandum at 25, n.9.) This misstates the law. A pre-

litigation demand is only necessary if defendant’s initial possession of the property was lawful;

not, whereas here, Great Western alleges that Ability unlawfully took Great Western’s Money

from the outset. (SAC ¶¶ 6.) See Leveraged Leasing Admin. Corp. v. PacifiCorp Capital, Inc.,

87 F.3d 44, 49 (2d Cir. 1996) (“New York law does not, however, always require that a demand

be made and be met by a refusal to make out a claim of conversion. Instead, a demand is

necessary only where the property is held lawfully by the defendant.”); Krasner, 2012 WL



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4069294, at*7 (requiring plaintiff to make a pre-litigation demand because plaintiff alleged

defendant initially maintained plaintiff’s investment funds lawfully, but then converted those

funds for defendant’s own purpose).

                                        CONCLUSION

       For the foregoing reasons, Great Western respectfully requests that the Court deny the

Ability Defendants’ Motion. However, given that the current motion to dismiss is the first time

the Court has addressed the substance of Great Western’s claims, if the Court dismisses any

claims in the SAC against the Ability Defendants, Great Western requests that such dismissal be

without prejudice, so Great Western may replead to cure any such deficiencies. 4




4
  See BLT Rest. Grp. LLC v. Tourondel, 855 F. Supp. 2d 4, 13 (S.D.N.Y. 2012) (“Rule 15(a) of
the Federal Rules of Civil Procedure specifies that courts should ‘freely give’ leave to amend
‘when justice so requires.’”)


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